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 7                         UNITED STATES DISTRICT COURT
 8                       CENTRAL DISTRICT OF CALIFORNIA
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11    Hudston Insurance Company,     )                CV 21-06882JVS(JEMx)
                                     )
12                                   )                ORDER OF DISMISSAL UPON
                  Plaintiff,         )
13                                   )                SETTLEMENT OF CASE
           v.                        )
14                                   )
      Motion Picture Studio Grips    )
15    IATSE Local 80,                )
                                     )
16                Defendant(s).      )
                                     )
17    ______________________________ )
18
19          The Court having been advised by the counsel for the parties that the above-
20    entitled action has been settled,
21          IT IS ORDERED that this action be and is hereby dismissed in its entirety
22    without prejudice to the right, upon good cause being shown within 75 days, to reopen
23    the action if settlement is not consummated.
24
25    DATED: November 12, 2021                            __________________________
                                                          James V. Selna
26                                                        U.S. District Judge
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